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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       CRIMINAL NO. 23-cr-239 (CKK)
                                               :
ILYA LICHTENSTEIN, et al.,                     :
                                               :
                       Defendants.             :

                                               ORDER

       Upon consideration of the Consent Motion To Schedule Restitution Hearing, it is hereby

       ORDERED, that a Restitution Hearing in this case shall be scheduled on February 21,

2025, at ______ a.m./p.m.; and it is further

       ORDERED, that the Government shall file its Supplemental Restitution Memorandum on

or before January 14, 2025; Any third parties shall file any Motions To Intervene or Objections on

or before January 28, 2025; the Defendants shall file any Response on or before February 7, 2025;

and the Government shall file its Reply on or before February 14, 2025.


Dated this     day of ___________, 2024.




                                      THE HONORABLE COLLEEN KOLLAR-KOTELLY
                                      UNITED STATES DISTRICT JUDGE




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